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                                  UNITED STATES DISTRICT COURT
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                                  EASTERN DISTRICT OF CALIFORNIA
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11   MARIA G. MORENO, et al.,                         Case No. 1:12-cv-00556-JLT-CDB

12                  Plaintiffs,                       ORDER ON STPULATED REQUEST
                                                      REGARDING MOTION FOR SUMMARY
13             v.                                     ADJUDICATION BRIEFING SCHEDULE

14   CASTLEROCK FARMING AND                           (Doc. 156)
     TRANSPORT, INC., et al.,
15
                    Defendants.
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19        On April 16, 2024, Defendants Castlerock Farming and Transport, Inc., and Albert L. Good

20 filed a motion for summary adjudication. (Doc. 140).1 On June 13, 2024, the Undersigned

21 extended nunc pro tunc the deadline by which Plaintiffs shall file an opposition or statement of

22 non-opposition to the motion for summary adjudication.          (Doc. 153).   Plaintiffs filed an

23 opposition to the motion for summary adjudication on June 14, 2024. (Doc. 154).

24        On June 17, 2024, the parties filed a stipulated request to modify the briefing schedule

25 regarding the motion for summary adjudication. (Doc. 156).

26        In light of the parties’ stipulated representations and good cause appearing, IT IS HEREBY

27         1
            On April 17, 2024, Defendant J.L. Padilla & Sons Labor Service, Inc. filed a notice of
28 joinder for Defendants Castlerock Farming and Transport, Inc., and Albert L. Good’s motion
   for summary adjudication. (Doc. 141).

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 1 ORDERED:

 2      Defendants’ deadline to file a reply in support of Defendants’ motion for summary

 3      adjudication is extended to July 3, 2024.

 4 IT IS SO ORDERED.

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     Dated:   June 21, 2024                             ___________________         _
 6                                                  UNITED STATES MAGISTRATE JUDGE

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